CASE 0:17-cr-00064-DWF-KMM Doc. 244-3 Filed 09/23/19 Page 1 of 6




           EXHIBIT K
CASE 0:17-cr-00064-DWF-KMM Doc. 244-3 Filed 09/23/19 Page 2 of 6
CASE 0:17-cr-00064-DWF-KMM Doc. 244-3 Filed 09/23/19 Page 3 of 6
CASE 0:17-cr-00064-DWF-KMM Doc. 244-3 Filed 09/23/19 Page 4 of 6
CASE 0:17-cr-00064-DWF-KMM Doc. 244-3 Filed 09/23/19 Page 5 of 6
CASE 0:17-cr-00064-DWF-KMM Doc. 244-3 Filed 09/23/19 Page 6 of 6
